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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA

  SIMRET SEMERE TEKLE,                              Case No.: 1:18cv211
                 Plaintiff,
         v.

  NOUF BINT NAYEF ABUL-AZIZ AL SAUD,
  MOHAMMAD BIN ABDULLAH AL SAUD
                 Defendants.




        PLAINTIFF’S OPPOSITION TO DEFENDANTS' MOTION TO SET ASIDE
       THE MAGISTRATE JUDGE’S MAY 17, 2019 DISCOVERY ORDER ON THE
             NUMBER OF ALLOWABLE REQUESTS FOR ADMISSION


         Defendants close their brief with the remarkable and misleading lament that “Judge

  Anderson has not required Plaintiff to respond to a single request for admission from the

  Defendants. This seems unjust.” Dkt. 197 at 10. This statement is not true.

         Magistrate Judge Anderson required Plaintiff to respond to three requests for admissions

  regarding each of 259 different documents, for a total of 777 responses. Indeed, Magistrate

  Judge Anderson did Defendants a courtesy: the Court rewrote their compound (and frequently

  incomprehensible) requests into clear, concise requests and directed Plaintiff to answer each part.

         Magistrate Judge Anderson’s decision that the sheer volume of the remaining requests

  served by Defendants was oppressive, unduly burdensome, and not proportional to the needs of

  the case is well-supported by ample case law. Defendants ignore the authority from within this

  Circuit holding that the 1,994 requests for admission they propounded here “clearly impose an

  undue burden.” See, e.g., Wigler v. Electronic Data Systems Corp., 108 F.R.D. 204, 205 (D. Md.
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  1985); Dkt 126 at 3 (citing cases). As Wigler explained, filing so many requests is

  “unjustifiable” and answering that many “in a conscientious and timely way would have taxed

  the powers of Hercules.” Indeed, Wigler considered 1,664 requests so oppressive, that it sua

  sponte considered the imposition of sanctions but stopped short, holding “it should be clear

  henceforth to all counsel that the plain overkill in requesting admissions will be viewed with

  utmost disfavor.” Wigler. 108 F.R.D. at 207. As it was, answering the requests ordered by

  Judge Anderson took Plaintiff and counsel well over 25 hours (a rate of roughly 2 minutes per

  question).

          Defendants have not met their heavy burden to overturn Magistrate Anderson’s well-

  reasoned decision, particularly as it falls well within the established precedent in this Circuit.

  Defendants’ request for 19 additional requests for admission ignores that Plaintiff already

  responded to 777 other requests. Moreover, at the initial meet and confer on this issue, Plaintiff

  suggested that Defendants withdraw their requests for admissions and re-serve Plaintiff with a

  reasonable number of the requests that Defendants considered most important, proportionate to

  the needs of the case. Defendants refused, insisted that their 1,994 requests were reasonable and

  demanded that Plaintiff answer all of them. Judge Anderson disagreed. Defendants should not

  be rewarded for their intransigence, particularly as they were unable to cite to Magistrate Judge

  Anderson a single case where any court required a party to answer an equivalent number of

  RFAs.

          Costs for opposing this unwarranted appeal should be awarded to Plaintiff.




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                               I. PROCEDURAL BACKGROUND

         Late on April 24, 2019, the last day to submit written discovery, Defendants served

  Plaintiff with 1,994 requests for admission, constituting one hundred twenty-one (121) pages.

  Exhibit 1.

         Plaintiff’s counsel immediately notified Defendants’ counsel that the sheer volume of

  requests was abusive and that many of the requests were improper. On April 26, 2019, counsel

  met and conferred.

         Plaintiff’s counsel suggested that a stipulation on the authenticity of the relevant

  documents was a less burdensome path forward for both sides. Ex. 2, Email from Nicholas

  Marritz to Defendants’ counsel (Apr. 26, 2019). Plaintiff also suggested that Defendants

  withdraw their requests for admissions and re-serve Plaintiff with a reasonable number

  proportionate to the needs of the case. See id. Plaintiff explained that:

         We noted that on April 24, you served Plaintiff’s counsel with 1,994 requests for
         admissions. We stated our belief that such a large number of RFAs is on its face
         unduly burdensome and disproportionate to the needs of a one-plaintiff case, and
         that this position is supported by ample case law. We also noted that these RFAs
         do not serve the purpose of the Federal Rules that govern discovery. We noted that
         many of the individual requests for admission are also substantively improper for
         various reasons, such as calling for legal conclusions or asking for the admission
         of facts in pleadings that have since been superseded.

  Id.

         Defendants’ counsel declined to withdraw or lower the number of requests, stating that

  1,994 requests was reasonable. Id.

         Plaintiff moved for a protective order. Dkt Nos. 126 & 160.

         Magistrate Judge Anderson found that the caselaw was unambiguous: the close to 2,000

  requests for admissions were oppressive, unduly burdensome and not proportional to the needs

  of the case. Ex. 3, May 17, 2019 H’rg Tr. at 5:1-9.



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         Judge Anderson granted the protective order in part, but directed Plaintiff to answer a

  number of requests.

         First, Magistrate Judge Anderson recognized the requests were compound (“there are

  really three things that are, to some extent, included in that request for admission,” (Ex. 3, H’rg

  Tr. at 6:21-24) and effectively rewrote the requests. He directed Plaintiff to answer the

  following:

         First, for each of 238 videos or photographs, Judge Anderson required Plaintiff to

  respond to the following: (1) is the person depicted you? (2) is it you at the time of your

  employment? And (3) is the exhibit authentic? Ex. 3, Hr’g Tr. at 6:22–7:7. If properly counted

  consistent with the Federal Rules, this is a total of 714 requests.

         Second, for each of 14 bank records, Magistrate Judge Anderson required Plaintiff to

  answer (1) whether the document relates to her bank account; (2) whether the document

  accurately reflects transactions in her bank account; and (3) whether the record is authentic. Ex.

  3, Hr’g Tr. at 43:7–10. If properly counted consistent with the Federal Rules, this is a total of 42

  requests.

         Third, for each of the seven travel records, Magistrate Judge Anderson required Plaintiff

  to answer (1) whether she had traveled to the location while employed by the Defendants; (2)

  whether she had stayed at the hotel represented in the record; and (3) whether the record is

  authentic. If properly counted consistent with the Federal Rules, this is a total of 21 requests.

         None of the photographs, videos, bank records or travel records were documents

  produced by Plaintiff. All were documents produced by Defendant. Magistrate Anderson

  recognized that it was likely that Plaintiff could not admit the document was authentic, and




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  specifically separated Defendants’ compound requests into portions that could be admitted. Ex.

  3, H’rg Tr. at 6-7.

          At the hearing, Defendants asked Magistrate Anderson to reconsider his ruling on the

  additional 56 requests “that weren’t really relevant to any pictures or any of that stuff,” Ex. 3,

  H’rg Tr. at 44:15-21. The Court declined to do so in light of the sheer volume of requests, that

  other than the 777 requests described above, it was granting the motion for a protective order.

  Id. at 6:15-19.

          Plaintiff thus responded to a total of nearly 800 separate inquires and spent well over 25

  hours doing so. Exhibit 4, Pl.’s Resp. to Defs.’ First Set of Req. for Admis.

                                   II. STANDARD OF REVIEW

          Magistrate Judge Anderson’s order on the number of allowable requests for admission

  that Plaintiff must answer is entitled to “great deference.” Carlucci v. Han, 292 F.R.D. 309, 311–

  12 (E.D. Va. 2013) (“Only if a magistrate judge’s decision [on a non-dispositive matter] is

  ‘clearly erroneous or contrary to law’ may a district court judge modify or set aside any portion

  of the decision.”); In re Outsidewall Tire Litig., 267 F.R.D. 466, 470 (E.D. Va. 2010) (“The

  ‘contrary to law’ standard ordinarily suggests a plenary review of legal determinations, but many

  courts have noted that decisions of a magistrate judge concerning discovery disputes and

  scheduling should be afforded great deference.”).

          Defendants bear the burden of showing that Magistrate Judge Anderson’s ruling was

  clearly erroneous, and that burden is a heavy one: “The leading treatise on federal practice and

  procedure describes altering a magistrate’s non-dispositive orders as ‘extremely difficult to

  justify.’” Carlucci, 292 F.R.D. at 312 (quoting 12 Wright & Miller, Federal Practice &

  Procedure § 3069 (2d ed. 1997)). Under Rule 72(a)’s deferential standard, the Court may not

  reverse “simply because it would have decided the case differently. Rather, a reviewing court


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  must ask whether ... it is left with the definite and firm conviction that a mistake has been

  committed.” DietGoal Innovations LLC v. Wegmans Food Markets, Inc., 993 F. Supp. 2d 594,

  600 (E.D. Va. 2013), quoting United States v. Wooden, 693 F.3d 440, 451 (4th Cir. 2012)

  (quotation and punctuation omitted).


                                          III. ARGUMENT


  A.     Magistrate Anderson’s conclusion that the sheer volume of requests served by
         Defendants was oppressive, unduly burdensome and not proportional to the needs
         of the cases is well-supported by ample case law


         While the Federal Rules of Civil Procedure do not state a limit on the number of requests

  for admission available to a party, under Rule 26(c), a court may limit discovery to protect a

  party from “annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ.

  Proc. 26(c)(1). Courts routinely limit requests for admission where the volume of requests is

  oppressive, unduly burdensome, and disproportionate to the needs of the case.

         The number of requests for admission propounded by Defendants – 1,994 – was, by any

  measure, oppressive. See Wigler v. Electronic Data Systems Corp., 108 F.R.D. 204, 205 (D. Md.

  1985) (granting protective order because 1,664 requests for admission “clearly impose an undue

  burden”: “[a]nswering these requests in a conscientious and timely way would have taxed the

  powers of Hercules, even before he cleaned the Augean Stables.”); see also Misco, Inc. v. U.S.

  Steel Corp., 784 F.2d 198, 206 (6th Cir. 1986) (2,028 requests for admissions was abuse of

  discovery process, particularly as many were improper); Stokes v. Interline Brands Inc, No. C-

  12-05527 JSW (DMR), 2013 WL 6056886, at *2 (N.D. Cal. Nov. 14, 2013) (“sheer volume” of

  1,059 requests for admission “is unduly burdensome and oppressive”); Gannon v. United States,

  No. CIV.A.03-6626, 2006 WL 2927639, at *1 (E.D. Pa. Oct. 6, 2006) (1,407 requests “are



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  grossly excessive in number and are therefore abusive, burdensome and oppressive. The burden

  and expense of responding to these requests for admissions far outweighs any possible benefit”).

  It is conceivable that a case could exist in which thousands of RFAs might be justified. This is

  not that case. Ms. Tekle, a single plaintiff, has brought breach of contract and forced labor

  claims against a husband and wife for abuse spanning just seven months. This is not a complex

  antitrust multi-district litigation involving multiple corporate defendants.

         Courts routinely grant protective orders when faced with far fewer requests than the

  thousands served here, routinely disallowing requests for admission that run into the mere

  hundreds on the grounds that they are abusive, unreasonable, and oppressive. Rapp v. Laufers,

  No. 17-CV-948-BBC, 2019 WL 121105, at *2 (W.D. Wis. Jan. 7, 2019) (“362 RFAs is just too

  many”); Byard v. City and County of San Francisco, No. 16-cv-00691-WHA, 2017 WL 988497,

  at *2 (N.D. Cal. Mar. 15, 2017) (531 requests for admission “abusive, oppressive, and overly

  burdensome”); Margulis v. Euro-Pro Operating, LLC, No. 4:12-CV-2371 CAS, 2013 WL

  5442702, at *4 (E.D. Mo. Sept. 30, 2013) (154 RFAs is too many: “sheer number of admissions

  sought by plaintiff in his first request for admissions is, on its face, abusive of the process

  intended by Rule 36”); Powell v. Tosh, No. 5:09CV-121-R, 2011 WL 1740211, at *3 (W.D. Ky.

  May 5, 2011) (300 requests for admission are too many and “an abuse of the discovery

  process”); Taylor v. Great Lakes Waste Servs., No. CIV.A. 06-CV-12312DT, 2007 WL 422036,

  at *2 (E.D. Mich. Feb. 2, 2007) (297 requests for admission are “oppressive and unduly

  burdensome”); Joseph L. v. Connecticut Dep't of Children & Families, 225 F.R.D. 400, 403 (D.

  Conn. 2005) (163 requests for admission are “excessive to the point of being abusive”); Leonard

  v. Univ. of Delaware, No. CIV.A. 96-360 MMS, 1997 WL 158280, at *7 (D. Del. Mar. 20, 1997)

  (800 requests are “oppressive”).




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         Indeed, the court in Wigler, considered 1,664 requests so oppressive, that it sua sponte

  considered the imposition of sanctions but stopped short, holding “it should be clear henceforth

  to all counsel that the plain overkill in requesting admissions will be viewed with utmost

  disfavor.” Wigler. 108 F.R.D. at 207.

         Plaintiff cited this authority to Judge Anderson and Defendants failed to distinguish it.

  Plaintiff has not found a case where a court denied a protective order when faced with the

  staggering number of requests served here. To the contrary, courts routinely grant protective

  orders when faced with far fewer requests, routinely disallowing requests for admission that run

  into the mere hundreds because the volume is abusive, unreasonable, and oppressive.

         Defendants cite but two cases. In Synthes v. Globus Medical, No. 04-1235, 2006 WL

  3486544 (E.D.Pa. Nov. 29, 2006), the plaintiffs had served separate sets of requests of 126, 64,

  250 and 118, for a total of 622 in a complex case involving corporate defendants. The requests

  concerned the authenticity, possession or use of 23 documents – in short, the requests are similar

  to the 777 requests Plaintiff has already answered. Booth Oil Site Admin. Grp. v. Safety-Kleen

  Corp., 194 F.R.D. 76, 78 (W.D.N.Y. 2000) is another complex case, involving the investigation,

  removal and remediation of hazardous substances released at a waste oil reclamation facility.

  There, the court ordered Defendants to answer 39 Requests – far fewer than Plaintiff has

  answered here.




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  B.     Defendants are not seeking 19 Requests but 19 on top of the 777 Requests already
         answered by Plaintiff

         At the inception of the meet and confer process, Plaintiff suggested that Defendants

  withdraw their voluminous requests and that in exchange, they would answer a reasonable

  number of Requests for Admission of Defendants’ choosing. Defendants refused. 1

         Plaintiff was then forced to move for a protective order, which was granted. After

  forcing Plaintiff to expend time and effort briefing this issue (now for the second time) as well as

  time and effort answering the previously ordered RFAs, Defendants should not be permitted to

  say, in effect, “nevermind.”

         Magistrate Anderson ruled that Plaintiff had to answer a substantial number of RFAs.

  And she has already done so. If what Defendants are really arguing is that Magistrate Anderson

  picked the “wrong” RFAs and they really would have preferred to have Plaintiff answer these 19,

  rather than the 777 Plaintiff already answered, then Defendants should have accepted Plaintiff’s

  offer to prioritize and re-serve reasonable number of requests at the start of meet-and-confer

  process. Magistrate Anderson selected a substantial number of requests that he required Plaintiff

  to answer and his selection was reasonable in light of the sheer volume of requests that

  Defendants served. Courts overwhelmingly recognize that the sheer volume of requests

  originally served by Defendants makes even sorting the good from the bad unduly burdensome.


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            Courts have adopted the approach suggested by Plaintiff, holding it was not in the
  interest of judicial economy to sort through thousands of requests and instead required the
  propounding party to re-serve 10 or 25 proper requests for admission. E.g., Rapp , 2019 WL
  121105, at *4 (holding “[t]he court is not going to sort through the RFAs to point out which ones
  it deems acceptable amidst the hundreds that defendants properly have challenged” and granting
  pro se plaintiff a “mulligan” to serve limited discovery); Byard, 2017 WL 988497, at *2
  (requiring party to identify 10 RFAs out of hundreds served); Stokes, 2013 WL 6056886, at *2
  (N.D. Cal. Nov. 14, 2013) But courts have emphatically not done so after Defendants rejected
  the same offer and Plaintiff has spent a significant amount of time and resources answering the
  previously ordered RFAs.


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  See BAT LLC v. TD Bank, N.A., No. 15CV5839RRMCLP, 2018 WL 3626428, at *6 (E.D.N.Y.

  July 30, 2018 (holding 157 requests are overly burdensome and that “It emphatically is not the

  job of the Court to correct a party’s sloppy drafting or intentionally overreaching discovery

  requests”); Wigler, 108 F.R.D. at 205 (“the defendant’s requests represent an attempt not just to

  nail down the core facts of the case, but also to pick every nit that a squad of lawyers could

  possibly see in it”); Pittsburgh Hotels Ass’n v. Urban Redevelopment Auth. of Pittsburgh, 29

  F.R.D. 512, 513 (W.D. Pa. 1962) (“Where valid and invalid requests are intermingled, the court

  need not attempt to sort the good from the bad”).



  C.     Plaintiff lodged valid and timely objections to Defendants’ 19 RFAs, but Defendants
         did not address them before the Magistrate Judge and fail to cite those to the Court
         now

         Plaintiff served valid and timely objections to the RFAs. Exhibit 5. Defendants argue

  on appeal that their requests are proper, Dkt. 197 at 9, but do not address the objections actually

  served by Plaintiff. Nor did they do so in their briefing before the Magistrate Judge. Dkt. 152 at

  11. The objections should be raised to and resolved by the Magistrate Judge in the first instance.

  It is thus premature to address the objections and propriety of each request. To the extent the

  court nonetheless wishes to evaluate the RFAs individually, Plaintiff has identified the following

  major improprieties.

         As an initial matter, Rule 36 is not a discovery tool in the traditional sense, but rather a

  procedure for obtaining admissions for the record of facts already known, eliminating the

  necessity of proving essential undisputed and peripheral issues of fact; and narrowing the range

  of issues for trial. E.g. Byard, 2017 WL 988497 at *1; Wigler, 108 F.R.D. at 206; Robinson v.

  Stanley, No. 06 C 5158, 2009 WL 3233909, at *2 (N.D. Ill. Oct. 8, 2009); Fed. R. Civ. P 36,

  advisory committee’s notes to 1970 amendment.. The Requests should be simple and direct so


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  that they can be readily admitted or denied, and the statement of fact sought to be admitted must

  be phrased so that it can be admitted or denied without explanation. Tamas v. Family Video

  Movie Club, Inc., 301 F.R.D. (citing United Coal Co. v. Powell Constr. Co., 839 F.2d 958, 968

  (3d Cir.1988)).

         It is blackletter law that requests that seek to establish central facts in dispute or to admit

  conclusions of law are improper. E.g. BAT LLC v. TD Bank, N.A., No. 15CV5839RRMCLP,

  2018 WL 3626428, at *6 (E.D.N.Y. July 30, 2018); Taylor v. Great Lakes Waste Servs., No.

  CIV.A. 06-CV-12312DT, 2007 WL 422036 (E.D. Mich. Feb. 2, 2007); Disability Rights Council

  v. Wash. Metro. Area, 234 F.R.D. 1, 3 (D.D.C. 2006) (“It is still true, however, that one party

  cannot demand that the other party admit the truth of a legal conclusion.”) For example, several

  of Defendants’ requests ask Plaintiff to admit legal conclusions: Request No. 1976 “You

  alleged in your Second Amended Complaint that ‘Defendants knowingly obtained Ms. Tekle’s

  forced and coerced labor through a scheme, plan, pattern and practice of physical …. abuse.’

  Admit that statement is untruthful.” (ellipsis in original); Request No. 1979: “You allege in your

  Second Amended Complaint that ‘Defendants kept Ms. Tekle in a condition of involuntary

  servitude through physical … coercion.’ Admit that statement is untruthful.” (ellipsis in

  original). These requests are impermissible under Fed. R.C.P 36 because, among other

  deficiencies, they do not seek the admission of the truth of facts, the application of law to facts,

  opinions about either, or an admission about the genuineness of a document. See Fed. R.C.P

  36(a)(1)(A) & (B). The requests are also compound.

         Likewise, several of the requests “are argumentative and clearly not drafted to narrow the

  issues to be tried in this case.” Byard, 2017 WL 988497 at *2. For example, Defendants ask:

  Request No. 1967 “Admit that, while working for Defendants, there was no physical




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  impediment to you walking down the Defendants’ street to any place you wanted to go”

  (emphasis added) and Request No. 1950, with no time-period specified, “Admit that there were

  occasions, during the Defendants’ travels, when you were unsupervised by the Defendants, their

  agents, or their employees.” These are not proper requests for admission.



  D.     The Court should award Plaintiff the costs she has incurred in litigating the
         propriety of Defendants’ serving 1,994 RFAs.

         This appeal originally arose out of Plaintiff’s motion for a protective order. Dkt. 197 at 1.

  Magistrate Judge Anderson agreed with Plaintiff that it was facially unreasonable to serve 1,994

  requests for admission in this case. The impropriety of serving nearly 2,000 RFAs should have

  been obvious—ample case law describes such a high number of requests as oppressive, overly

  burdensome and unjustifiable; Defendants should never have served so many requests; they

  should never have forced Plaintiff to seek a protective order explaining that to the Magistrate

  Judge; and they should never have appealed the Magistrate Judge’s plainly correct ruling on that

  issue to this Court. Plaintiff’s attorneys have wasted a large amount of completely unnecessary

  time addressing Defendants’ obviously improper conduct. Fortunately, the Federal Rules give

  the Court a means to ensure that Defendants do not repeat this conduct in the future.

         Under Federal Civil Rule 26, if a party brings a motion for a protective order and wins,

  the court must award the movant its reasonable attorneys’ fees in accordance with Fed. R. Civ. P.

  37(a)(5). Fed. R. Civ. P. 26(c)(3). The only exceptions are if the movant filed the motion without

  first making a good-faith effort to resolve the matter without the court’s help; if the opposing

  party’s conduct was substantially justified, or if other circumstances would make an award of

  fees unjust. Id. No such concerns apply here: Plaintiff’s counsel made every effort to get the

  Defendants to withdraw their nearly 2,000 RFAs and re-serve the Plaintiff with a reasonable



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  number. Defendants have argued time and again that serving 1,994 RFAs is reasonable, despite a

  deafening chorus of case law (and a decision by the Magistrate Judge) telling them that they are

  wrong. Defendants’ recalcitrance is not remotely justified, and no other circumstances would

  make a fee award unjust. Plaintiff thus respectfully requests her attorneys’ fees, both for

  opposing this motion and for her previous successful motion for a protective order.

                                         IV. CONCLUSION

         For the above reasons, Defendants’ motion should be denied.



   Dated: June 14, 2019                                     Respectfully submitted,

                                                            /s/ Nicholas Cooper Marritz
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